Case 1:13-cv-00214-TCS   Document 64   Filed 09/03/19   Page 1 of 13
Case 1:13-cv-00214-TCS   Document 64   Filed 09/03/19   Page 2 of 13
Case 1:13-cv-00214-TCS   Document 64      Filed 09/03/19        Page 3 of 13




    September 3, 2019                  /s/ Timothy C. Stanceu
Case 1:13-cv-00214-TCS   Document 64   Filed 09/03/19   Page 4 of 13
Case 1:13-cv-00214-TCS   Document 64   Filed 09/03/19   Page 5 of 13
Case 1:13-cv-00214-TCS   Document 64   Filed 09/03/19   Page 6 of 13
Case 1:13-cv-00214-TCS   Document 64   Filed 09/03/19   Page 7 of 13
Case 1:13-cv-00214-TCS   Document 64   Filed 09/03/19   Page 8 of 13
Case 1:13-cv-00214-TCS   Document 64   Filed 09/03/19   Page 9 of 13
Case 1:13-cv-00214-TCS   Document 64   Filed 09/03/19   Page 10 of 13
Case 1:13-cv-00214-TCS   Document 64   Filed 09/03/19   Page 11 of 13
Case 1:13-cv-00214-TCS   Document 64   Filed 09/03/19   Page 12 of 13
Case 1:13-cv-00214-TCS   Document 64   Filed 09/03/19   Page 13 of 13
